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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


LEE BATES                                                                   CIVIL ACTION

VERSUS                                                                             No. 11-51

TRANSUNION LLC                                                                   SECTION I


                                         ORDER

      Considering the unopposed motion1 to dismiss pursuant to Rule 12(b)(5) filed by

defendant, Trans Union LLC,

      IT IS ORDERED that plaintiff’s claim against defendant, Trans Union LLC, only, is

DISMISSED WITHOUT PREJUDICE for failure to properly serve defendant.



      New Orleans, Louisiana, May 10, 2011.




                                                      LANCE M. AFRICK
                                                 UNITED STATES DISTRICT JUDGE




      1
       R. Doc. No. 7.
